Case 2:20-ad-00317-VAP Document 1 Filed 04/22/20 Page 1 of 2 Page ID #:1
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8                       UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA
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11 In the Disciplinary Matter of                CASE NO: 2:20−ad−00317−VAP
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     Christopher Sterling Wolfe                 ORDER TO SHOW CAUSE
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14 California State Bar # 158774
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17         This Court has received notice that the attorney named above has been
18    suspended from the practice of law by the Supreme Court of California or the
19    California State Bar Court, effective July 3, 2018. Accordingly, the attorney
20    named above is HEREBY ORDERED TO SHOW CAUSE, in writing,

21    within 30 days of the date of this order, why he or she should not be suspended

22    from the practice of law before this Court, pursuant to Rule 83-3.2 of the Local
23    Rules for the Central District of California.
24         If the attorney does not contest the imposition of a suspension from this
25    Court or does not respond to this order to show cause within the time specified, the
26    Court shall issue an order of suspension. A response to this order to show cause
27    must make the showing required in Local Rule 83-3.2. In addition, at the time a
28    response is filed, the attorney must produce a certified copy of the entire record

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      from the other jurisdiction or bear the burden of persuading the Court that less
2     than the entire record will suffice. See Local Rule 83-3.2.3.
3          A response to this order to show cause and any related documentation may
4     be filed electronically, in accordance with the Court’s local rules, or manually, at

5     the Edward R. Roybal Federal Building and Courthouse, 255 East Temple Street,
6     Room 180, Los Angeles, California 90012, Attn: Civil Intake. All documents filed
7     must include the case number in the caption.
8          Unless stated otherwise by order of the Court, an attorney who has been
9     suspended from the Bar of this Court because of a suspension by the Supreme
10    Court of California or the California State Bar Court will be reinstated to the Bar
11    of this Court upon proof of reinstatement as an active member in good standing
12    in the State Bar of California.

13         An attorney registered to use the Court’s Electronic Case Filing System
14    (ECF) who is suspended by this Court will not have access to file documents
15    electronically until the attorney is reinstated to the Bar of this Court.
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     Date: April 22, 2020
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20                                               VIRGINIA A. PHILLIPS
                                        CHIEF UNITED STATES DISTRICT JUDGE
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